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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                         GREAT FALLS DIVISION

    ROSEBUD SIOUX TRIBE, et al.,
                                              CV 18-118-GF-BMM
               Plaintiffs,
    v.
                                              JOINT MOTION FOR STAY
                        1
    JOSEPH R. BIDEN, et al.,

               Defendants,
    and

    TC ENERGY CORP., et al.,

               Defendant-Intervenors.




1
 President Joseph R. Biden is substituted for his predecessor in office pursuant to
Federal Rule of Civil Procedure 25(d).
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      Defendants President Joseph R. Biden et al. (“Defendants”), Plaintiffs

Rosebud Sioux Tribe et al., and Defendant-Intervenors TC Energy Corp et al.

jointly move for a stay of the case for sixty days. The case has been fully briefed

on summary judgment and is pending a decision by the Court. This case involves

President Donald J. Trump’s approval of a cross-border permit for the Keystone

XL pipeline, as well as actions by various federal agencies and TC Energy. The

parties request a stay to allow them to discuss whether further litigation is

necessary in light of the President’s revocation of the Presidential permit allowing

the pipeline to cross the border.

      In a January 20, 2021 Executive Order, President Joseph R. Biden revoked

the March 29, 2019 Presidential Permit granted to TransCanada Keystone Pipeline,

L.P., for the construction, connection, operation, and maintenance of pipeline

facilities at the international border of the United States and Canada. See

Protecting Public Health and the Environment and Restoring Science to Tackle the

Climate Crisis, 86 Fed. Reg. 7,037, 7,041 (Jan. 20, 2021). After the issuance of the

executive order revoking the border-crossing permit, TC Energy announced that it

would suspend advancement of the project due to the revocation of the Presidential

Permit.2


2
 See https://www.tcenergy.com/announcements/2021-01-20-tc-energy-
disappointed-with-expected-executive-action-revoking-keystone-xl-presidential-
permit/.
                                           1
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      The requested stay will not prejudice any party because TC Energy does not

intend to construct any new pump stations or to do any further construction of the

pipeline over the next sixty days. TC Energy intends to consider the impact of the

President’s decision on the project and does not intend to move forward with

pipeline construction while it conducts that evaluation. If circumstances change

and TC Energy later opts to move forward with pipeline construction or

construction of new pump stations, it will notify the Court of those plans sixty days

in advance of those activities. Such notice does not apply to actions taken by TC

Energy in response to an order from the government, dismantling facilities or

movement of equipment, or required environmental protection measures.

Additionally, TC Energy does not need to provide notice of other security or

maintenance activities for existing infrastructure.

         In addition, in order for any construction activity to occur on federal lands

under the authority of the U.S. Bureau of Land Management (“BLM”) and the U.S.

Army Corp of Engineers (“Corps”), TC Energy must request a notice to proceed

from BLM. See U.S. Bureau of Land Management, Record of Decision, Keystone

XL Pipeline Project, Decision to Grant Right-of-Way and Temporary Use Permit

on Federal Land at 7 (Jan. 20, 2020), attached as Ex. 1. If such a request were

submitted, BLM would need to evaluate it to ensure that TC Energy complied with

the required terms of the right-of-way grant, and that evaluation would likely take


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at least several weeks. No such application has been submitted, and if an

application is submitted, Defendants will notify the Court. Further, TC Energy is

required to schedule a preconstruction conference with BLM prior to commencing

any construction or ground-disturbing activities on federal land and must notify

BLM at least 30 days in advance of such preconstruction conference. See U.S.

Bureau of Land Management, Right-of-Way Grant MTM-98191, Temporary Use

Permit MTM-98191-01, at Exhibit B, stipulation 4, attached as Ex. 2. TC Energy

has not provided BLM notice of a preconstruction conference, and if TC Energy

does provide notice, Defendants will inform the Court.

      In light of these developments, the parties respectfully request that the Court

stay the current litigation deadlines for sixty days, so that the parties may

determine what further proceedings may be necessary in this case. See Landis v. N.

American Co., 299 U.S. 248, 254 (1936) (a court has inherent authority to stay

litigation). During that time, incoming officials within the U.S. Department of the

Interior and other agencies will evaluate the previously issued authorizations for

the pipeline. The agencies will evaluate whether the authorizations should be

rescinded or suspended in light of the President’s action or for other reasons.

Given that many positions within the respective agencies’ leadership have not yet

been filled, this process will likely take several weeks.

       At the end of the sixty-day period, the parties will advise the Court whether


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further proceedings are necessary and, if so, propose a revised briefing

schedule. If the parties need additional time to discuss potential further

proceedings, the parties will submit a status report and request additional time to

continue their discussions.

      Respectfully submitted this 3rd day of February, 2021,

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                       CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1(d)(2)(E), the foregoing brief is proportionately

spaced, has a typeface of 14 points, and contains 737 words, excluding the tables,

caption, signature, certificate of compliance, and certificate of service.


                                 /s/ Luther L. Hajek
                                 LUTHER L. HAJEK
                                 U.S. Department of Justice




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                         CERTIFICATE OF SERVICE

      I hereby certify that on February 3, 2021, a copy of the foregoing Joint

Motion for Stay was served on all counsel of record via the Court’s CM/ECF

system.


                                /s/ Luther L. Hajek
                                LUTHER L. HAJEK
                                U.S. Department of Justice




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